Case 20-10516-JDW                    Doc 14        Filed 03/02/20 Entered 03/02/20 13:55:44                                     Desc Main
                                                   Document     Page 1 of 1



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